
The Supreme Court quashed the appeal on May 27, 1877 in the following opinion:
Per Curiam.
It is not necessary that we should now pass upon the regularity •of the summary dismissal of the executor under the will of Elizabeth Gittleman, and the order for an issue. Henry Gittleman had-appealed from the decree of the Pegister, approving of the will of the decedent and granting letters testamentary to B. B. Elickinger. When the appeal came into the Orphans’ Court, that Court ordered an issue as the first step in the proceeding to •determine the validity of the will. This clearly was not final. It neither established, nor set aside the will. It concluded no. -one, but was simply making progress towards the final decision, which should conclude the rights of the litigants. The discharge -of the executor as such, and appointing him administrator pendente lite was simply ancillary to the main purpose of the pro-ceeding to determine the validity of the will, and will necessarily be superseded if the will should be established. It is therefore not conclusive of the rights of the executor. It is plain, therefore, that no one has been finally concluded by the acts of the Court thus far. If the Court acted irregularly and illegally, the matter must come up to us on an appeal after the case has been disposed of finally in the Court below.
Appeal quashed at the costs of the appellants.
